Case 1:20-cv-04669-GBD-VF Document 65-11 Filed 03/08/21 Page 1 of 5




                      EXHIBIT “L”
3/8/2021        Case 1:20-cv-04669-GBD-VF
                Jean-Michel                                   Document
                            Basquiat's Warrior could become the              65-11
                                                                most expensive         Filed
                                                                               Western work    03/08/21
                                                                                            of art               Pagein2Asia
                                                                                                   ever sold at auction   of| 5The Art Newspaper



   NEWS        ART MARKET

   Jean-Michel Basquiat's Warrior could become the most
   expensive Western work of art ever sold at auction in
   Asia
   The 1982 painting will be sold in a single-lot evening sale at Christie's
   Hong Kong on 23 March with an estimate of $31m to $41m


   ANNA BRADY
   12th February 2021 02:00 GMT




https://www.theartnewspaper.com/news/could-jean-michel-basquiat-s-warrior-become-the-most-expensive-western-work-of-art-ever-sold-at-aucti…   1/4
3/8/2021        Case 1:20-cv-04669-GBD-VF
                Jean-Michel                                   Document
                            Basquiat's Warrior could become the              65-11
                                                                most expensive         Filed
                                                                               Western work    03/08/21
                                                                                            of art               Pagein3Asia
                                                                                                   ever sold at auction   of| 5The Art Newspaper




                                                 Jean-Michel Basquiat's Warrior Courtesy of Christie's

   Jean-Michel Basquiat's Warrior (1982) could become the most expensive Western work of art
   to be sold at auction in Asia when it is offered at Christie's in Hong Kong with an estimate of
   HK$240m to HK$320m (US$31m-$41m) on 23 March.


https://www.theartnewspaper.com/news/could-jean-michel-basquiat-s-warrior-become-the-most-expensive-western-work-of-art-ever-sold-at-aucti…   2/4
3/8/2021        Case 1:20-cv-04669-GBD-VF
                Jean-Michel                                   Document
                            Basquiat's Warrior could become the              65-11
                                                                most expensive         Filed
                                                                               Western work    03/08/21
                                                                                            of art               Pagein4Asia
                                                                                                   ever sold at auction   of| 5The Art Newspaper
   The painting will be offered in a single-lot live-streamed sale in Hong Kong (at 10pm local
   time) that immediately precedes Christie's 20th Century Art Evening Sale in London
   (starting at the-earlier-than-usual time of 2pm GMT), followed by The Art of the Surreal
   Evening Sale, also in London.

   The vendor, an American collector, bought the painting in 2012 at Sotheby's in London for
   £5.5m (with fees), so this looks to be a good investment for them.

   Basquiat's Warrior, depicted full-length and brandishing a sword, is considered semi-
   autobiographical and dates to the artist's most innovative and desirable period. This version
   was first exhibited at Akira Ikeda Gallery, Tokyo, in 1983, and was included in the 2019
   exhibition Jean-Michel Basquiat at the Brant Foundation Art Study Center in New York City.

   "This—1981-1982—is the best period for Basquiat, undoubtedly," says Cristian Albu, Christie’s
   co-head of post-war and contemporary art. "If you look at the top ten records, nine out of ten
   are from 1981 to 1982. The energy of his work was at its peak. And it is a rare to have a large
   one like this."

   He adds: "If you look at La Hara [now in a London private collection], which we sold for
   $34.9m [with fees] in New York in 2017, it was from the same period, of the same dimensions,
   it had the same rawness about it, the same reality about what was happening in New York in
   1981-1982. So, historically this work is very important."

   The idea of selling the work in Hong Kong came off the back of Christie's New York Hong
   Kong relay sale in December, when 17 new records were set for artists in Hong Kong.
   "Because traditionally March is a London season, we decided to continue that idea of using
   different locations," Albu says. "The vendor loved the idea of having a Hong Kong component
   selling the Basquiat linked to the London season. Clients love seeing these new ideas and
   bringing together locations and clients from the US, Europe and the US...I see a growing
   appetite in Asia to put together works from the East and West. Why not put a Basquiat with
   a Sanyu?"




       More News         Topics       Jean-Michel Basquiat             Christie's          Asia          Auctions




                                   Related content
https://www.theartnewspaper.com/news/could-jean-michel-basquiat-s-warrior-become-the-most-expensive-western-work-of-art-ever-sold-at-aucti…   3/4
3/8/2021        Case 1:20-cv-04669-GBD-VF
                Jean-Michel                                   Document
                            Basquiat's Warrior could become the              65-11
                                                                most expensive         Filed
                                                                               Western work    03/08/21
                                                                                            of art               Pagein5Asia
                                                                                                   ever sold at auction   of| 5The Art Newspaper




                                   Sotheby’s to auction                    Poacher turned
                                   Karl Lagerfeld’s                        gamekeeper? Stefan
                                   collection in Monaco                    Simchowitz opens Los
                                                                           Angeles gallery




                                   Who is Beeple? The art                  ‘Art enthusiasts’ burn
                                   world disruptor at the                  a Banksy print then
                                   heart of the NFT boom                   sell it as an NFT




                                   Surrealist collection of                Winston Churchill's
                                   Man Ray's assistant                     painting of Marrakech
                                   sells out at Christie's                 —given to President
                                   despite 'serious                        Franklin D. Roosevelt
                                   concerns about                          and sold by Angelina
                                   ownership' of most of                   Jolie—sells for record
                                   the works                               £8.2m




https://www.theartnewspaper.com/news/could-jean-michel-basquiat-s-warrior-become-the-most-expensive-western-work-of-art-ever-sold-at-aucti…   4/4
